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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Criminal Action No.17-CR-00168-CMA

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. KAREN MCCAFLIN,

        Defendant.


                              ORDER TO RESTRICT DOCUMENT


        This matter is before the Court on the Government’s Motion to Restrict Document. Upon

 consideration and for good cause shown,

        IT IS ORDERED that said Document, the United States’ Brief in Support of Motion to

 Restrict Document, as well as any order revealing the contents of that document, are hereby

 restricted until further order by the Court.

        IT IS ORDERED that said Document, the United States’ Brief in Support of Motion to

 Restrict Document, as well as any order revealing the contents of that document, are hereby at a

 “Level 2 Restriction" and will be “viewable by selected parties & court” only.

        IT IS SO ORDERED on this                day of June, 2020.



                                HON. JUDGE CHRISTINE M. ARGUELLO
                                UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO
